           Case 1:14-vv-00846-UNJ Document 34 Filed 09/18/15 Page 1 of 7




        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 14-846V
                                      Filed: August 21, 2015
                                           Unpublished

****************************
KORY BRIMMER,                          *
                                       *      Joint Stipulation on Damages;
                   Petitioner,         *      Influenza Vaccine or Flu Vaccine;
      v.                               *      Guillain-Barré Syndrome (“GBS”);
                                       *      Special Processing Unit (“SPU”)
SECRETARY OF HEALTH                    *
AND HUMAN SERVICES,                    *
                                       *
                   Respondent.         *
                                       *
****************************
Amber Wilson, Esq., Maglio Christopher and Toale, PA, (DC) Washington, DC, for
      petitioner.
Claudia B. Gangi, Esq., US Department of Justice, Washington, DC, for respondent.

                                DECISION AWARDING DAMAGES1

Vowell, Chief Special Master:

        On September 12, 2014, Kory Brimmer filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 [the
“Vaccine Act” or “Program”]. Petitioner alleges that he suffered Guillain-Barré syndrome
(GBS) resulting from the influenza vaccine he received on October 10, 2013. Petition,
¶¶ 2, 5-9; see also Stipulation, filed Aug. 21, 2015, ¶¶ 2, 4. Petitioner further alleges
that his “vaccine related injuries have lasted more than six months.” Petition, ¶ 10.
Respondent denies that the influenza vaccination caused petitioner’s GBS, any other
injury, or his current disabilities. Stipulation, ¶ 6.




1 Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post it on the United States Court of Federal Claims' website, in accordance with the E-Government
Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
          Case 1:14-vv-00846-UNJ Document 34 Filed 09/18/15 Page 2 of 7



       Nevertheless, the parties have agreed to settle the case. Stipulation, ¶ 7. On
August 21, 2015, the parties filed a joint stipulation agreeing to settle this case and
describing the settlement terms.

      Respondent agrees to pay petitioner a lump sum of $534,427.87 in the form of a
check payable to petitioner, Kory Brimmer. Stipulation, ¶ 8. This amount represents
compensation for all damages that would be available under 42 U.S.C. § 300aa-15(a).
Id.

      I adopt the parties’ stipulation attached hereto, and award compensation in the
amount and on the terms set forth therein. In the absence of a motion for review filed
pursuant to RCFC Appendix B, the clerk of the court is directed to enter judgment in
accordance with this decision.3

                                        s/Denise K. Vowell
                                        Denise K. Vowell
                                        Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each filing a notice renouncing
the right to seek review by a United States Court of Federal Claims judge.
                                                      2
Case 1:14-vv-00846-UNJ Document 34
                                27 Filed 09/18/15
                                         08/21/15 Page 3
                                                       1 of 7
                                                            5
Case 1:14-vv-00846-UNJ Document 34
                                27 Filed 09/18/15
                                         08/21/15 Page 4
                                                       2 of 7
                                                            5
Case 1:14-vv-00846-UNJ Document 34
                                27 Filed 09/18/15
                                         08/21/15 Page 5
                                                       3 of 7
                                                            5
Case 1:14-vv-00846-UNJ Document 34
                                27 Filed 09/18/15
                                         08/21/15 Page 6
                                                       4 of 7
                                                            5
Case 1:14-vv-00846-UNJ Document 34
                                27 Filed 09/18/15
                                         08/21/15 Page 7
                                                       5 of 7
                                                            5
